64 F.3d 656
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.William A. DUNBAR, III, Plaintiff--Appellant,v.Carrol HEATH, Aiken County Sheriff, in his individual andofficial capacities;  David Nieves, Investigator, AikenCounty Sheriff's Department, in his individual and officialcapacities;  Becky Edmonds, Investigator, Aiken CountySheriff's Department, in her individual and officialcapacities;  Lonnie Mccarthy, Jail Administrator, AikenCounty Detention Center, in his individual and officialcapacities, Defendants--Appellees,and Virginia Harris, Aiken County Public Defender, in herindividual and official capacities;  Bill Hart,Investigator, Aiken County Public Defender's Office, in hisindividual and official capacities, Defendants.
    No. 95-6639.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 25, 1995.Decided Aug. 14, 1995.
    
      William A. Dunbar, III, appellant pro se.  John Gregg McMaster, Jr., TOMPKINS &amp; MCMASTER, Columbia, SC;  Robert E. Peterson, SOUTH CAROLINA DEPARTMENT OF CORRECTIONS, Columbia, SC, for appellees.
      Before WILKINS, NIEMEYER, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order dismissing his 42 U.S.C. Sec. 1983 (1988) complaint.  Appellant's case was referred to a magistrate judge pursuant to 28 U.S.C. Sec. 636(b)(1)(B) (1988).  The magistrate judge recommended that relief be denied and advised Appellant that failure to file timely objections to this recommendation could waive appellate review of a district court order based upon the recommendation.  Despite this warning, Appellant failed to object to the magistrate judge's recommendation.
    
    
      2
      The timely filing of objections to a magistrate judge's recommendation is necessary to preserve appellate review of the substance of that recommendation when the parties have been warned that failure to object will waive appellate review.  Wright v. Collins, 766 F.2d 841, 845-46 (4th Cir.1985).  See generally Thomas v. Arn, 474 U.S. 140 (1985).  Appellant has waived appellate review by failing to file objections after receiving proper notice.  Accordingly, we affirm the judgment of the district court.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      3
      AFFIRMED.
    
    